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                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF OREGON

                                                               Civil Case No. 3:15-cv-01857-BR
LORI WAKEFIELD
                                                               APPLICATION FOR SPECIAL
        Plaintiff(s),                                          ADMJSSION-PRO HAC VICE
v.
VISALUS, INC.

        Defendant(s).



        Attorney Sarah R. Anchors                                  requests special adtnission pro hac vice in
the above-captioned case.

Certification of Attorney Seeking Pm H11c Vice Admission: I have read and understand the
requirements of LR 83-3, and ce1iify that the following information is conect:

        (1)     PERSONALDATA:
                Name: Anchors                         Sarah                             R
                        (last Name)                 (Fits{ Name)                      (Ml)        (Siiffix)
                Firm or Business Affiliation: Quarles & Brady l.LP
                                             ~-----'--------------~
                Mailing Address:         2 N. Central Ave. 1 Renaissance One

                City: Phoenix                             State: _A_z_ _ _ _ _ Zip: 85004
                Phone Number: 602.229.5788                             Fax Number: 602.229.5690
                                  ----------~


                Business E~niall Address: sarah.anchors@quarles.com




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        (2)     BAR ADMISSIONS INFORMATION:
                (a)       State bar admission(s), date(s) of admission, and bar ID number(s):
                          AZ State Bar                      October 19, 2007        025344




                (b)       Other federal court admission(s), date(s) of admission, and bar ID number(s):
                          District Court of AZ              November 19, 2007        025344
                          US Court of Appeals, 9th Cir.     October 31, 2008          025344



        (3)     CERTIFICATION OF DISCIPLINARY ACTIONS:
                (a)   (;z] I am not now, nor have I ever been subject to any disciplinary action by any
                          state or federal bar association; or

                (b)   0   I am now or have been subject to disciplinary action from a state or federal bar
                          association. (See attached letter of explanation.)

        (4)     CERTIFICATION OF PROFESSIONAL LIABILITY INSURANCE:
                I have professional liability insurance, or financial responsibility equivalent to liability
                insurance, that will apply and re1nain in force for the duration of the case, including any
                appeal prnceedings.

        (5)     REPRESENTATION ST ATEMENT:
                I am representing the following party(s) in this case:
                 Defendant ViSalus, Inc.




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        (6)       CM/ECF REGISTRATION:
                  Concmrent with approval of this pro hac vice application, I acknowledge that I will
                  beco1ne a registered user of the CoUrt's Case Manage1nent/Electronic Case File syste1n.
                  (See the Court's website at ord.uscourts.gov), and 1 consent to electronic service pursuant
                  to Fed. R. Civ. P 5(b)(2)(E) and the Local Rules of the District of Oregon.

        DATED this _2_9t_h_ _ day of January                       2016




                                                               Sarah R. Anchors
                                                              (I'yped Name)

CERTIFICATION OF ASSOCIATED LOCAL COUNSEL:
I certify that lam a member in good standing of the bar of this Court, that l have read and understand the
require1nents of LR 83~3, and that I will serve as designated local counsel in this particular case.

        DATED this       ~ h,-     day of,.........-(µt_ry         _2_01_6-+--_




Name: Singer                                           Jona_tha                                       H.
        .,,---'-c-~----------~~---'---------l,,,,_-------~~------
        (Last Name)                                 (First Name)                               (Ml)             (Suj/b.)
Oregon State Bar Number: _1_0_5_0_48_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
firm or Business Affiliation: Miller Nash Graham & Dunn LLP
Mailing Address: 111 SW Fifth Avenue, Suite 3400
City: Portland                                           State: -
                                                                OR- - - - - Zip: 97204
Phone Number: _5_0_3_.2_2_4_.5_8_5_8_ _ _ _ _ _ _ Business E-mail Address: jonathan.singer@millernasj)



                                              COURT ACTION


                          .~plication approved subject to payment of fees.
                          0 Application denied.

        DA TED this
                          ·1~      day of
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                                              I:C
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                                                      2--V / 'P
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U.S. District Cou1·t-01·egon                                       Application for Special Admission - Pro Hae Vice
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